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Virginia Voter Registration Application                                                                                                                                                              Use blue or black ink

 Starred (*) items are required. If you do not complete all of the items that are marked with *, your application may be denied (See instructions on reverse side).

1.
        YES       NO                 * Full social                                                     * Date of
                                                                     -           -
     * I am a citizen of the                                                                                                   /            /
                                                      N     N    N           N
                                                                                                                                                                                        * Gender
                                                                         N
                                         security                                    N   N   N   N
                                                                                                            birth    M    M        D    D       Y       Y       Y       Y

     United States of America.           number           No SSN was ever issued.


2.   * Last name                                                                                                                                            Jr. Sr. II III IV (Circle if applicable)

                                                                                                                                                                                                                                 None
     * First name                                                                                                         * Middle name
     * Residence address (May not be a P.O. Box)                                                                                                                                                Apt #

     * City/Town                                                                                                                                                                            * ZIP

       E-mail                                                                                                                          Phone        N       N       N       -   N           N    N   -       N       N       N        N




3.   * Have you ever been convicted of a felony or
       judged mentally incapacitated and disqualified to vote? .........                     YES       NO       If YES, has your right to vote been restored? .......                                            YES              NO

4.
        I am an active-duty uniformed services member, spouse or dependent; or an overseas citizen.
        I am providing a mailing address (below) because my residence address is not serviced by the U.S. Postal Service or I am homeless.
        I am providing a Virginia P.O. Box (below) to protect my residence address from public disclosure because                                                                                                                     :
              n active or retired law enforcement officer, judge, U.S. or Virginia Attorney General attorney
                              court issued protective order
             n fear for personal safety from                                   another person
               participant in the Virginia Attorney General’s Address Confidentiality Program
              een approved to be a foster parent


         My mailing address (Complete only if you have checked a box in this section)




5.      I am currently registered to vote in another state:                      . (Indicate state of previous registration)

6.      I am interested in being an Officer of Election (poll worker) on Election Day. Please send me information.

7.     AFFIRMATION: I swear/affirm, under felony penalty for making willfully false material statements or entries, that the information provided
       on this form is true. I authorize the cancellation of my current registration and I have read the Privacy Act Notice.


                                                                                                                                                                    M       M           D       D        Y       Y       Y        Y
                                                                                                                                       Today’s date:
       * Signature                                                                                                                                                  M       M       /   D        D   /   Y        Y      Y        Y



            By checking this box, I affirm both that I am an individual with physical disabilities and the Affirmation Statement above. Pursuant to
         Article II, § 2 of the Constitution of Virginia, individuals with physical disabilities are not required to sign the application for voter registrations.


 * Virginia Voter Registration Application Receipt
     The application collector must submit your
     completed application within 10 days or by the                                                                                                                 M       M       /   D        D   /   Y        Y      Y        Y

     deadline to register for the next election, whichever                                                                                                      Date application received
     comes first. You can check your voter registration
     status online at                                        .
     If you do not receive confirmation of your voter
     registration status within 30 days, contact your local
     voter registrar or the Virginia Department of Elections.
                                                                             Name, phone and e-mail of office, group or individual                              Thank you for applying
                                                                             receiving application                                                              to vote in Virginia!
                                                                                                                                                                                                             VA-NVRA-1 07/
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                With this form, you can register to vote in elections in Virginia. You can also use this form to change the information
                on your Virginia voter registration.
Register to
                If you are currently registered to vote, you do not have to use this form unless you have moved or changed your
Vote            name.

                ATTENTION: Overseas citizens, uniformed service voters, qualifying spouses and dependents may register using the
                Federal Post Card Application (FPCA), available at www.fvap.gov.



Go Online       You may complete your voter registration application online at                                           . You may
                also check your voter registration status online at                                        .



                You must provide a street address or a description of where you live as a residence address. You may provide a mail-
Your Address    ing address in Box 4 if: (1) your residence address is not serviced by the U.S. Postal Service; (2) you are homeless;
                (3) you are an overseas citizen; or (4) you are a uniformed service member, or qualifying spouse or dependent.
                Qualified protected voters must provide a Virginia post office box in Box 4 to receive protected voter status. No
                other applicant can list a mailing address.



                Mail your completed application to your local registrar. Use the online address lookup tool if you do not know
                your registrar’s address:                                  or mail your application to:
How to Mail
                                       Virginia Department of Elections
                                       1100 Bank Street
                                       Richmond, VA 23219
                Mailed applications must be postmarked at least 22 days before the next election in which you plan to vote. A
                qualified active-duty uniformed services member, spouse or dependent is NOT subject to the mailing deadline if by
                reason of active duty, you are normally absent from the locality in which you reside.



Questions?      Call your local voter registration office or call (800) 552-9745 • TTY 711.



                When registering to vote, Article II, Section 2 of the Constitution of Virginia (1971) requires you to provide your social
                security number, if you have one. If you do not provide your social security number, your application will be denied.
Privacy Act     Voting officials use the social security number as a unique identifier to ensure that no voter is registered in more than
                one place.
Notice
                Your application will only be open to inspection by the public if the social security number is removed. Your social
                security number will appear on reports produced only for official use by voter registration and election officials, for
                jury selection purposes by courts, and all lawful purposes. Your decision to decline to register to vote as well as the
                office where you submit your application, if you choose to do so, are confidential and will only be used for voter
                registration purposes.




ID
                                                                   www.elections.virginia.gov/voterID.
                Need more information? Go Online: www.elections.virginia.gov Or Call: (800) 552-9745 TTY: 711
                WARNING: INTENTIONALLY VOTING MORE THAN ONCE IN AN ELECTION OR MAKING A MATERIALLY FALSE
                STATEMENT ON THIS FORM CONSTITUTES THE CRIME OF ELECTION FRAUD, WHICH IS PUNISHABLE UNDER
                VIRGINIA LAW AS A FELONY. VIOLATORS MAY BE SENTENCED TO UP TO 10 YEARS IN PRISON, OR
                UP TO 12 MONTHS IN JAIL AND/OR FINED UP TO $2,500.
                                                                                                                             VA-NVRA-1 07/
